                                                          IT IS HEREBY ADJUDGED and
                                                          DECREED this is SO ORDERED.
                                                          The party obtaining this order is responsible
                                                          for noticing it pursuant to Local Rule 9022-1.

                                                          Dated: September 17, 2013
 1

 2
                                                          Randolph J. Haines, Chief Bankruptcy Judge
 3                                                        _________________________________
 4

 5

 6

 7
                               UNITED STATES BANKRUPTCY COURT
 8                                   DISTRICT OF ARIZONA
 9                                           Case No. 2:13-BK-16126 (RJH)
10   In re:                                  Chapter 11
11   ELECTRIC TRANSPORTATION
     ENGINEERING CORPORATION (d/b/a
12   ECOTALITY NORTH AMERICA),
13            Debtor.
14

15   Tax I.D. No. XX-XXXXXXX
16
     In re:                                  Case No. 2:13-BK-16127 (___)
17
     ECOTALITY, INC.,                        Chapter 11
18
              Debtor.
19
                                             ORDER AUTHORIZING JOINT
20                                           ADMINISTRATION OF CHAPTER 11
     Tax I.D. No. XX-XXXXXXX                 CASES
21

22                                           Case No. 2:13-BK-16128 (GBN)
23   In re:                                  Chapter 11
24   ECOTALITY STORES, INC.,
25            Debtor.
26

27   Tax I.D. No. XX-XXXXXXX
28


     Case 2:13-bk-16127-MCW     Doc 4 Filed 09/17/13 Entered 09/17/13 16:50:49                      Desc
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 1                                                          Case No. 2:13-BK-16129 (___)

 2   In re:                                                 Chapter 11

 3   ETEC NORTH, LLC,

 4            Debtor.

 5

 6   Tax I.D. No.

 7
                                                            Case No. 2:13-BK-16130 (SSC)
 8
     In re:                                                 Chapter 11
 9
     THE CLARITY GROUP, INC.,
10
              Debtor.
11

12
     Tax I.D. No. XX-XXXXXXX
13

14                                                          Case No. 2:13-BK-16131 (___)
15   In re:                                                 Chapter 11
16   G.H.V. REFRIGERATION, INC.,
17            Debtor.
18

19   Tax I.D. No. XX-XXXXXXX
20

21            Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

22   (collectively, the “Debtors”) seeking entry of an order (this “Order”) directing joint administration of

23   these chapter 11 cases, all as more fully set forth in the Motion;1 and upon the First Day Declaration;

24   and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this

25   Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this Court

26   may enter a final order consistent with Article III of the United States Constitution; and this Court

27
              1
               All terms used but not defined herein shall have the meaning ascribed to them in the Motion and the First Day
28   Declaration, as applicable.


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 1   having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

 2   U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the

 3   best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

 4   found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

 5   appropriate and no other notice need be provided; and this Court having reviewed the Motion and

 6   having heard the statements in support of the relief requested therein; and this Court having determined

 7   that the legal and factual bases set forth in the record establish just cause for the relief granted herein;

 8   and upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

 9   appearing therefor,

10            IT IS HEREBY ORDERED that:

11            1.    The Motion is granted to the extent provided herein.

12            2.    The bankruptcy proceedings of the following entities are jointly administered by the

13   Court:
                        a.   ELECTRIC TRANSPORTATION ENGINEERING CORPORATION
14                      b.   ECOTALITY, INC.
                        c.   ECOTALITY STORES, INC.
15                      d.   ETEC NORTH, LLC
                        e.   THE CLARITY GROUP, INC.
16                      f.   G.H.V. REFRIGERATION, INC.
17            3.    Pursuant to Bankruptcy Rule 1015 and Local Rule 1015-1(b), each of the above-

18   captioned chapter 11 cases is consolidated for procedural purposes only and shall be jointly

19   administered by the Court under Electric Transportation Engineering Corporation, Case No. 2:13-BK-

20   16126 (RJH).

21            4.    The above-captioned chapter 11 cases shall be transferred and assigned to facilitate the

22   joint administration of these cases before the same judge.

23            5.    A docket entry shall be made on the docket for the other chapter 11 cases reflecting the

24   joint administration of these cases.

25            6.    Nothing contained in this Order shall be deemed or construed as directing or otherwise

26   effecting the substantive consolidation of any of the above-captioned chapter 11 cases.

27            7.    The caption of the Debtors’ jointly administered cases shall read as follows:

28


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 1   In re:                                                           Case No. 2:13-BK-16126 (RJH)

 2   ELECTRIC TRANSPORTATION ENGINEERING                              Chapter 11
     CORPORATION (d/b/a ECOTALITY NORTH
 3   AMERICA), et al.,*                                               Jointly Administered

 4            Debtors.                                                [MOTION TITLE]

 5                                                                    Hearing Date: ______, 2013
                                                                      Time:         _____________
 6

 7   This filing applies to:

 8             All Debtors

 9             Specified Debtors

10
              * The Debtors in these jointly administered chapter 11 cases and the last four digits of their respective Employer
11   Identification Numbers are: (i) ECOtality, Inc. (5422); (ii) Electric Transportation Engineering Corporation (4755);
     (iii) ECOtality Stores, Inc. (2643); (iv) ETEC North, LLC (n/a); (v) The Clarity Group, Inc. (8832); and (vi) G.H.V.
12   Refrigeration, Inc. (4512). The Debtors’ service address at ECOtality, Inc’s corporate headquarters is Post Montgomery
     Center, One Montgomery Street, Suite 2525, San Francisco, California 94104.
13

14            8.      The requirements under Bankruptcy Code section 342(c)(1) and Bankruptcy Rules 1005

15   and 2002 that the case caption in pleadings and notices include certain identifying information about

16   the Debtors are waived, and the caption set forth herein, including the footnote listing the Debtors in

17   these chapter 11 cases, the last four numbers of their respective Employer Identification Numbers and

18   the address of ECOtality, Inc.’s corporate headquarters, is approved.

19            9.      The Court retains jurisdiction with respect to all matters arising from or related to the

20   interpretation or implementation of this Order.

21                                        ** DATED AND SIGNED ABOVE **
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